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                     No. 25-807


IN THE UNITED STATES COURT OF APPEALS
        FOR THE NINTH CIRCUIT


         STATE OF WASHINGTON, et al.,

                                Plaintiffs-Appellees,

                          v.

            DONALD J. TRUMP, et al.,

                                Defendants-Appellants.


  On Appeal from the United States District Court
      for the Western District of Washington
        District Court Case No. 2:25-cv-127


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                                 INTRODUCTION

      The Citizenship Clause of the Fourteenth Amendment “rightly repudiated” the

Supreme Court’s “shameful decision in Dred Scott v. Sandford, 60 U.S. (19 How.) 393

(1857), which misinterpreted the Constitution as permanently excluding people of

African descent from eligibility for United States citizenship solely based on their

race.” ER-61. Rectifying that injustice to the recently freed slaves, all agree, was the

principal purpose of the Citizenship Clause. Nothing in the Clause’s text or historical

context supports the conclusion that it also extended citizenship to birth tourists and

other transient visitors or those who enter the country in violation of our laws.

      On the contrary, the text makes clear that to qualify for birthright citizenship,

an individual must be not only born in the United States, but also “subject to the

jurisdiction thereof”—an independent requirement that the Supreme Court has held

excludes those who are not “completely subject to the political jurisdiction of the

country.” United States v. Wong Kim Ark, 169 U.S. 649, 693 (1898). The children of

aliens whose presence here is temporary or unlawful do not meet this requirement

because they lack the requisite connection and allegiance to the United States.

      A country has complete political jurisdiction over individuals who owe it

sufficient allegiance, such as children of citizens and aliens lawfully “domiciled here,”

id., but not over those who owe only the lesser allegiance of merely obeying the law,

such as children of tribal Indians, Elk v. Wilkins, 112 U.S. 94, 102 (1884). This

distinction reflects principles that were well recognized at the time the Fourteenth
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Amendment was ratified, when domicile was understood to confer a more substantial

allegiance than mere presence, a type of allegiance akin to citizenship that subjected an

individual to the complete jurisdiction of the country of domicile with corresponding

rights and reciprocal duties. Children of aliens here temporarily or illegally, whose

only allegiance is the duty to obey the laws while they are here, lack sufficient

allegiance to come within the United States’ complete political jurisdiction. This

historically grounded explanation reconciles the Supreme Court’s cases and explains

the substantial focus on domicile in the debates leading up to the Citizenship Clause

and the legal scholarship and Executive Branch practice in the years thereafter.

      Plaintiffs offer no interpretation of the Citizenship Clause that explains that

history or reconciles the Supreme Court’s decisions in Elk and Wong Kim Ark. They

argue that “subject to the jurisdiction thereof” refers only to regulatory jurisdiction

(the ability to impose laws regulating individuals) or, amounting to the same thing, an

individual’s duty to obey those laws. This theory cannot explain Elk because

Congress clearly had authority to regulate tribal Indians (even if Congress did not fully

exercise that authority), and Indians owed a duty to obey those laws that had been

imposed. Nor can it explain the other groups who fall outside the Clause.

      Plaintiffs’ failure to engage with tribal Indian citizenship, in particular,

disregards the original meaning of the phrase “subject to the jurisdiction thereof.” As

plaintiffs’ own amici acknowledge, debates over this phrase considered the status of

tribal Indians at length. See, e.g., Constitutional Law Scholars Amicus Br. 13-14; Kurt
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T. Lash, Prima Facie Citizenship 45-54 (rev. Apr. 17, 2025), https://perma.cc/ARN2-

5CSJ. In crafting the Citizenship Clause, Congress eschewed the Indian-specific

language of the Civil Rights Act of 1866 and adopted a general test for all persons

born in the United States. But plaintiffs offer no such general test. They have no

explanation for why all individuals covered by the Executive Order (including the

children of birth tourists) owe an allegiance or a duty to obey the laws that children of

tribal Indians—who have a far stronger connection to the United States—lack.

        Text and historical context thus confirm that the Executive Order’s

interpretation of the Citizenship Clause is correct, and the preliminary injunction

should be reversed.

                                     ARGUMENT

   I.      Plaintiffs Are Not Likely to Succeed on the Merits.

        The Civil Rights Act of 1866 and the Citizenship Clause of the Fourteenth

Amendment repudiated Dred Scott and confirmed that freed slaves and their children

were citizens of the United States. Plaintiffs’ efforts to paint this case as a modern-

day analogue to that odious decision are mistaken. No one disputes that Dred Scott is

deservedly overruled—or that fixing the citizenship status of freed slaves and their

children was the central purpose of the Citizenship Clause. But nothing about the

historical context of the Citizenship Clause suggests that it extended to the children of

foreigners who freely choose to enter the country illegally. The history of the Clause’s

adoption is entirely devoid of concern for such illegal aliens, a group that did not yet
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exist given the absence of federal immigration restrictions. Instead, Congress chose

language that would encompass freed slaves but still limited citizenship to individuals

who are completely subject to the political jurisdiction of the United States—a

category that excludes both transient visitors and illegal aliens.

       A. Political Jurisdiction Is Not Merely Regulatory Jurisdiction.

       All agree that the phrase “subject to the jurisdiction thereof” in the Citizenship

Clause excludes the U.S.-born children of (1) foreign ambassadors, (2) persons on

foreign public ships, (3) invading armies, and (4) members of Indian tribes. These

exceptions share a single common feature: the child’s parents do not fall within the

“political jurisdiction” of the United States because they lack sufficient allegiance to

the United States and owe primary allegiance to another sovereign. Elk v. Wilkins,

112 U.S. 94, 102 (1884). That understanding of the Clause squares with its text.

history, and the Supreme Court’s precedents.

       Plaintiffs, by contrast, press the view that “jurisdiction” encompasses all

persons “subject to U.S. law, i.e., subject to its authority to legislate, regulate, and

govern.” Individuals Br. 11; accord States Br. 32. Thus, they contend, the mere

obligation to obey U.S. law—which is shared by persons temporarily or unlawfully

present—alone renders an individual “subject to the jurisdiction” of the United States.

       That view cannot explain the long-recognized exceptions to the Citizenship

Clause. Plaintiffs rely on dictionary definitions preceding the Fourteenth Amendment

that define “jurisdiction” as “the ‘power of governing or legislating’” or “‘the power
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or right of exercising authority.’” States Br. 27 (alteration omitted). But the United

States plainly has the power to exercise authority over the categories of persons long

understood to be excluded from the Citizenship Clause. See Schooner Exch. v.

McFaddon, 11 U.S. (7 Cranch) 116, 146 (1812) (explaining that the immunity granted to

foreign public ships could be “destroy[ed]” if the sovereign wished to “claim and

exercise jurisdiction either by employing force, or by subjecting such vessels to the

ordinary tribunals”); Gov’t Br. 15-16.

       Indian tribes are an especially powerful example. It was well settled by the time

of the Citizenship Clause’s ratification that the United States could exercise regulatory

power over Indian tribes. See, e.g., United States ex rel. Mackey v. Coxe, 59 U.S. (18

How.) 100, 104 (1855) (“Cherokee country … is within our jurisdiction and subject to

our laws.”); United States v. Rogers, 45 U.S. (4 How.) 567, 572 (1846); see Lash, supra, at

23-24. The Congressional debates preceding the Clause reflected that understanding:

multiple Senators recognized that Indian tribes were subject to congressional

regulation. See Cong. Globe, 39th Cong., 1st Sess. 2893 (1866) (Senator Johnson

stating that “the courts would have no doubt” about Congress’s “authority to

legislate” with respect to Indian tribes); id. at 2892 (Senator Doolittle stating that there

were many Indians who were subject to U.S. regulatory jurisdiction “who ought not

to be included as citizens”). As Senator (and former Attorney General) Reverdy

Johnson observed, the few contrary statements during the debate (which plaintiffs


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quote, Individuals Br. 19-20) conflated “the authority to legislate” with the extent to

which Congress had actually legislated. See Cong. Globe, 39th Cong., 1st Sess. 2893.

       Thus, the United States could “deal” with Indian tribes “through acts of

Congress in the ordinary forms of legislation.” Elk, 112 U.S. at 99. And indeed,

shortly after ratification, Congress enacted a statute declaring that it would no longer

recognize Indian tribes as “independent nation[s], tribe[s], or power[s] with whom the

United States may contract by treaty.” Act of Mar. 3, 1871, ch. 120, 16 Stat. 544, 566;

Elk, 112 U.S. at 107.

       “Jurisdiction” in the Citizenship Clause cannot mean the bare power to regulate

or enforce federal law. It requires something more.

       B. Political Jurisdiction Is Formed by Establishing Domicile,
          Which Entails a Greater Degree of Allegiance.

       1. As the repeated citations to the Congressional debates about tribal Indians

show, “the debate” about the phrase subject to the jurisdiction thereof “predominantly

focused on whether [it] included Native Americans,” Constitutional Law Scholars

Amicus Br. 13; accord Lash, supra, at 49-53, and was widely publicized to the ratifying

public, see Lash, supra, at 53-54 & n.288. Accordingly, any theory of what makes

someone “subject to the jurisdiction thereof” needs a coherent account of why tribal

Indians are subject to the jurisdiction of the United States less completely than

individuals who are granted citizenship under the Clause.




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       As we explained, Gov’t Br. 13-22, the Supreme Court’s cases make clear that

the children of ambassadors, aliens aboard foreign public ships, invading armies, and

Indian tribes are not “subject to the jurisdiction” of the United States because they are

not “completely subject to” the “political jurisdiction” of the United States “and

owing them direct and immediate allegiance.” Elk, 112 U.S. at 102. Every Justice in

Elk—as well as Wong Kim Ark—explained how “jurisdiction” for purposes of the

Citizenship Clause depends on allegiance. Elk, 112 U.S. at 99, 101-02, 109; id. at 119-

120 (Harlan, J., dissenting); Wong Kim Ark, 169 U.S. at 655-65, 679-94; id. at 710-31

(Fuller, J., dissenting). That principle is reenforced by the Clause’s historical context

and legislative history. Gov’t Br. 18-22.

       Given the Supreme Court’s emphasis on “allegiance” as the criterion

distinguishing Indian tribes, as well as its discussions of allegiance in connection with

other recognized exceptions, plaintiffs’ assertion that the Clause “has never been

understood to exclude U.S.-born children based on their parents’ … allegiance” and

like claims are plainly mistaken. States Br. 27; accord id. at 26, 37, 38; Individuals Br.

11. The question is not whether allegiance is relevant but instead whether the

requisite allegiance arises solely from birth on U.S. soil and, if not, what sort of

connection gives rise to the “direct and immediate allegiance” needed to make

someone “completely subject to” the “political jurisdiction” of the United States.

Elk, 112 U.S. at 102.


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       Here, too, the common law and the Supreme Court have long recognized

gradations of allegiance. Every tourist or other temporarily present individual in U.S.

territory owes “temporary and local allegiance” and is bound by U.S. law while

present here, Wong Kim Ark, 169 U.S. at 685-86 (quoting Schooner Exch., 11 U.S.

(7 Cranch) at 144), just as U.S. citizens must obey local laws while present in another

country. By contrast, aliens who have established domicile in the United States—in

other words, have lawfully made the United States their “fixed and permanent home,”

Martinez v. Bynum, 461 U.S. 321, 331 (1983)—develop a degree of “allegiance to the

country, very different from a mere obedience to its laws during a temporary

residence.” Hodgson v. De Beauchesne [1858] 14 Eng. Rep. 920, 932 (Privy Council); see

Joseph Story, Commentaries on the Conflict of Laws § 49a, at 48 (6th ed. 1865) (discussing

Hodgson as a “very extensiv[e] and learne[d] discuss[ion]” by “counsel of great

eminence” and a “judge of very great learning”). Such domiciled aliens “acquire rights

and must discharge duties in many respects the same as possessed by and imposed

upon the citizens of that country.” Lau Ow Bew v. United States, 144 U.S. 47, 62 (1892);

Fong Yue Ting v. United States, 149 U.S. 698, 734 (1893) (Brewer, J., dissenting) (similar).

And unlike temporarily present aliens—whose obligation to, and protection by, the

United States ends on their departure—domiciled aliens could call on the United

States for diplomatic protection while abroad. Fong Yue Ting, 149 U.S. at 724.

       A person’s domicile—as opposed to merely temporary or local allegiance—had

long been recognized as affecting which government (as a matter of comity) had
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jurisdiction to determine an individual’s rights. “In dealing with domicil we are

dealing with the question of jurisdiction—the right of the government to exercise

control over the social population, and the rights of individuals to claim protection or

to enjoy benefits which are attached to residence.” Frederick A. Cleveland, American

Citizenship as Distinguished from Alien Status 34 (1927). Contemporaneous treatises

accordingly described “[d]omicil” as “the foundation of jurisdiction over persons”

“under the Law of Nations,” 1 Travers Twiss, The Law of Nations Considered as

Independent Political Communities § 164, at 239 (1861), and a “ti[e] which bind[s], or … [a]

caus[e] which subject[s], the individual to the jurisdiction of a particular territory,” 4

Robert Phillimore, Commentaries Upon International Law 32 (2d ed. 1874).

       Before the Fourteenth Amendment, citizenship for Article III of the

Constitution was already understood to relate to domicile. Whether someone was a

“citizen” of a “state” for diversity jurisdiction depended on their domicile. See, e.g.,

Case v. Clarke, 5 F. Cas. 254, 254 (C.C.D.R.I. 1828) (Story, J.) (No. 2490). Similarly, in

the 1830s, Justice Story explained that a U.S. citizen domiciled in the United Kingdom

“would be deemed an alien enemy” in the event of war and thought it an open

question whether such an individual would qualify as a “foreign … citizen[] or

subject[]” for purposes of diversity jurisdiction, given the oddity of treating a U.S.

citizen domiciled abroad “as a foreign merchant and foreign subject” for “all

purposes, except of suits in the courts of the United States.” Wildes v. Parker, 29 F.

Cas. 1224, 1225-26 (C.C.D. Mass. 1839) (Story, J.) (No. 17,652) (certifying the
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question to the Supreme Court and noting the divided but unreported outcome). In

the 1860s, the relationships between domicile, degrees of allegiance, and citizenship

were well understood.

      Indeed, the language of the Civil Rights Act of 1866—the predecessor to the

Citizenship Clause—was drafted with these degrees of allegiance in mind. Senator

Trumbull explained that in drafting the Act he faced a “difficulty” in drafting language

to cover “all the people born in the United States and who owe allegiance to it.”

Cong. Globe, 39th Cong., 1st Sess. 572. Namely, Trumbull initially considered using

the phrase “all persons born in the United States and owing allegiance thereto” but

rejected that approach because “upon investigation it was found that a sort of

allegiance was due to the country from persons temporarily resident in it.” Id. The

Act’s eventual language—persons were citizens if they were “not subject to any

foreign power”—addressed this concern. The Citizenship Clause’s use of affirmative

language—being subject to the jurisdiction of the United States—was not intended to

alter this result. See, e.g., id. at 2890 (Senator Howard proposing language which he

described as “declaratory of …. the law of the land already”); id. at 2894 (Senator

Trumbull saying “the object to be arrived at” by the language in the Act and the

Clause was “the same”). 1


      1
        The change in language from “born in the United States and not subject to
any foreign power, excluding Indians not taxed” to “born … in the United States and
subject to the jurisdiction thereof” appears to have been motivated by concerns that
                                                                        Continued on next page.
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       Domicile’s significance as a marker of allegiance is also reflected in Wong Kim

Ark. As we explained, the Supreme Court repeatedly emphasized that Wong’s

parents, though “subjects of the Emperor of China,” had “a permanent domicil and

residence in the United States.” 169 U.S. at 653; accord id. at 652, 693, 696, 705.

Indeed, a key passage on which plaintiffs rely—the Court’s paragraph announcing its

“conclusions” from its analysis of the common law and other antecedents, id. at 693-

94; see States Br. 44-45; Individuals Br. 11—underscores the importance of domicile.

That paragraph makes clear that “[e]very citizen or subject of another country, while

domiciled here, is within the allegiance and the protection, and consequently subject to

the jurisdiction, of the United States,” and thus that the Citizenship Clause “includes

the children born within the territory of the United States of all other persons …

domiciled within the United States.” Wong Kim Ark, 169 U.S. at 693 (emphases added).

And, echoing the language of Elk, the Court concludes by noting that those domiciled

here are “completely subject to the political jurisdiction” of the United States by

comparing their allegiance to those temporarily present: “seeing that” even a

temporary visitor to “the dominions of a foreign government” has a duty of

“obedience to the laws of that government” during his presence “independently” of

any “domiciliation” or “oath of allegiance,” the Court explained that it “can hardly be



“Indians not taxed” might be interpreted literally rather than as a term of art. See Ilan
Wurman, Jurisdiction and Citizenship 70-71 (rev. Apr. 21, 2025),
https://perma.cc/5DFJ-Z9BN.
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denied that an alien is completely subject to the political jurisdiction of the country in

which he resides.” Id. at 693-94 (emphases added) (quotation marks omitted); see

M.W. Jacobs, A Treatise on the Law of Domicil § 75, at 123 & n.2 (1887) (collecting cases

equating residence and domicile); 2 James Kent, Commentaries on American Law 576

n.(c) (10th ed. 1860) (similar).

       These points illustrate why in the years after Wong Kim Ark, treatises and

Executive Branch practice regularly recognized that the children of those temporarily

present in the United States were not citizens at birth. Gov’t Br. 27, 38-39. Indeed,

one of the only sources plaintiffs cite in the few decades immediately following Wong

Kim Ark itself acknowledges the consensus of treatise-writers that “in order that a

person born in the United States of alien parents may have American citizenship, his

parents must have been domiciled in this country at the time of his birth,” and admits

that Wong Kim Ark “did not directly decide the precise point” because the “parents

were domiciled in the United States.” Richard W. Flournoy, Dual Nationality and

Election, 30 Yale L.J. 545, 552 (1921).

       2. These treatise-writers treated domicile as “one of the fundamental

considerations in controversies over citizenship” because it was “so closely related to

matters of civil jurisdiction.” Cleveland, supra, at 35. As a matter of comity, the place

where an individual was domiciled was the jurisdiction that determined the

“numerous civil rights of the person.” 1 William Burge, Commentaries on Colonial and

Foreign Laws 32 (1838); accord, e.g., Coddington v. Coddington, 20 N.J. Eq. 263, 264 (Ch.
                                             12
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1869) (explaining that it was “well settled” that the government of a person’s domicile

“regulated” “the positive and relative status of [the] person”); Story, supra, § 51, at 53;

Henry Wheaton, Elements of International Law § 84, at 141 (Richard Henry Dana, Jr.,

ed., 1866). It was this relationship that caused treatise-writers to describe domicile as

“the foundation of jurisdiction over persons” “under the Law of Nations,” 1 Twiss,

supra, § 164, at 239, and a “caus[e] which subject[s] the individual to the jurisdiction of

a particular territory,” 4 Phillimore, supra, at 32.

       The United States thus yielded to the country of an alien’s domicile to

determine whether the alien was a minor, Story, supra, § 66, at 71; the rights of married

women, id. § 66a, at 72; the rules of inheritance for personal property, Wheaton, supra,

§ 83, at 140; the forum to administer divorces, Coddington, 20 N.J. Eq. at 264, and

insolvency proceedings, Jacobs, supra, § 47, at 80 n.3; to subject an individual to

conscription, H.W. Halleck, International Law 385 (1861); or tax worldwide income, 2

John Bassett Moore, A Digest of International Law § 183, at 59-61 (1906). See also Ilan

Wurman, Jurisdiction and Citizenship 80-84 (rev. Apr. 21, 2025),

https://perma.cc/5DFJ-Z9BN (discussing how non-domiciled foreigners were

subjected to less jurisdiction under then-prevailing international law). 2


       2
         The individual plaintiffs’ reliance on other uses of “political jurisdiction” (at
15-16) reinforces the point that the term does not just refer to territorial jurisdiction.
Justice Wayne’s separate opinion in Smith v. Turner, 48 U.S. (7 How.) 283 (1849),
recognizes a “distinction between territorial and political jurisdiction” and explains
that a state “may have territorial jurisdiction for most of the purposes of sovereignty,
                                                                             Continued on next page.
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       This limited exercise of civil jurisdiction over non-domiciled aliens means that

they would not be citizens under the Citizenship Clause even if, as the States argue,

persons are excluded when the United States’ “exercise of sovereign authority … was

limited as a matter of fact or as a matter of comity and practice.” States Br. 31-32;

accord id. at 26. This response to the problem that the United States had authority to

regulate those classes historically understood to fall outside the Citizenship Clause

fails in part because there is no reason to focus, as plaintiffs implicitly do, on criminal

jurisdiction to the exclusion of civil jurisdiction, particularly when the Civil Rights Act

of 1866 and the Fourteenth Amendment focused on civil rights.3 Moreover, a test

based on the extent of authority exercised would depart from the strict English

common-law rule plaintiffs argue the Clause adopted.



without political jurisdiction for some of them.” Id. at 422-43 (opinion of Wayne, J.).
And Chicago, Rock Island & Pacific Railway Co. v. McGlinn, 114 U.S. 542 (1885), merely
says that “legislative power” “is involved in” “political jurisdiction.” Id. at 546.
Plaintiffs’ other examples postdate the Citizenship Clause by a century and do not
address the Clause.
        3
          Plaintiffs do not suggest post-ratification changes in the extent of authority
Congress exercised would change the constitutional status of these long-recognized
categories. Plaintiffs do not (and could not) dispute that today the United States
exercises substantial—indeed, “plenary”—regulatory authority over Indian tribes
across “a wide range of areas, including criminal law, domestic violence, employment,
property, tax, and trade.” Haaland v. Brackeen, 599 U.S. 255, 272, 275 (2023). Yet
plaintiffs recognize that children born to members of tribes are not “subject to” its
“jurisdiction” for purposes of the Citizenship Clause and, thus, receive citizenship at
birth only by statute. States Br. 27 n.2, 41; Individuals Br. 13, 18. Moreover, a
dynamic test for the extent of jurisdiction exercised would be inconsistent with “the
purpose of the” Clause, which was to put freed slaves’ citizenship rights “beyond the
legislative power.” Afroyim v. Rusk, 387 U.S. 253, 263 (1967).
                                              14
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       C. The Citizenship Clause Adapted the Common Law to
          American Views, Departing from the English Rule.

       Plaintiffs attempt to draw support from English common law and early

American sources, but these cannot overcome the Citizenship Clause itself. The

Constitution “did not purport to take English law or history wholesale and silently

download it into” American law. United States v. Rahimi, 602 U.S. 680, 722 n.3 (2024)

(Kavanaugh, J., concurring). While the English common law regarded children even

of transients as citizens at birth, there is no dispute that the Citizenship Clause

departed from English common law in some respects. As early as the 1820s,

American courts rejected the suggestion that members of Indian tribes were born

citizens, even though they satisfied the English common-law rule. When the New

York Supreme Court of Judicature applied the English common-law rule to conclude

that tribal Indians were “born in allegiance to the government of this state, for [New

York’s] jurisdiction extends to every part of the state; they receive protection from

[New York], and are subject to [New York’s] laws,” Jackson ex dem. Smith v. Goodell, 20

Johns. 188, 192-93 (N.Y. Sup. Ct. 1822), Chancellor Kent reversed its decision

because Indians had “never been regarded as citizens or members of [New York’s]

body politic,” Goodell v. Jackson ex dem. Smith, 20 Johns. 693, 710 (N.Y. 1823); see

Gregory Ablavsky, “With the Indian Tribes”: Race, Citizenship, and Original Constitutional

Meanings, 70 Stan. L. Rev. 1025, 1056 (2018) (stating that “Indians were described as

subjects” of the King “by both British officials and Native peoples themselves”);

                                             15
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Relations of Indians to Citizenship, 7 Op. Att’y Gen. 746, 749 (1856) (concluding that

Indians were not citizens even though they are “in our allegiance” in a more limited

sense of the term).

       Moreover, as noted, Justice Story explained that citizenship at birth required

more than temporary physical presence. Story, supra, § 48, at 46. The individual

plaintiffs (at 39 n.11) suggest that Story’s statement is undermined because he

followed it with an acknowledgment that this idea was not “universally established,”

Story, supra, § 48, at 46. But given that the treatise covered both American and

English law, see id. at xi-xiii, Story’s qualification is merely evidence of how American

views had begun to differ from the strict English rule. Importantly, by

Reconstruction, the Republicans championing the Civil Rights Act of 1866 and the

Citizenship Clause had adopted the American position, as evidenced by the repeated

references to principles of domicile in discussions of the Civil Rights Act and the

Citizenship Clause. See Gov’t Br. 19-20; see also Lash, supra, at 18 (noting speech by

Representative Bingham declaring that “all free persons born and domiciled within the

United States” are citizens (emphasis added) (quotation marks omitted)).

       Against this background, plaintiffs rely heavily on Lynch v. Clarke, 1 Sand. Ch.

583 (N.Y. Ch. 1844), but plaintiffs overstate its importance. Julia Lynch was born

during the four years her parents spent in the United States, and the New York court

concluded that she was a citizen at birth under the English common-law rule. Id. at

587, 640-46, 655. But there is little indication that Lynch reflected a universal view,
                                            16
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much less one incorporated wholesale into the Citizenship Clause. 4 As David Dudley

Field observed, Lynch “seems not to be entirely approved” and “probably would at the

most be considered as authority only in regard to the right of succession to real

property within that State.” David Dudley Field, Outlines of an International Code 132

n.1 (2d ed. 1876). When New York judges were later faced with the inverse of

Lynch—a child born to Americans temporarily abroad—they divided on whether the

child was also a citizen of the foreign country. Wurman, supra, at 28-29 (discussing

Ludlam v. Ludlam, 31 Barb. 486, 503 (N.Y. Gen. Term. 1860), aff’d, 26 N.Y. 356

(1863)). Nor was Lynch the test that New York applied to all of its inhabitants,

notably tribal Indians. See Goodell, 20 Johns. 693. Given that the debates about the

phrase “subject to the jurisdiction thereof” focused on Indian citizenship, Lynch

unsurprisingly played almost no role in those debates. Lash, supra, at 20-21.

      When the Citizenship Clause was being ratified, Congress was criticizing the

mode of reasoning employed in Lynch—that “everything that was law in England

before, was law in America after the Revolution” —as having “no just foundation,”

and in particular objecting to American courts’ acceptance of the English common



      4
        The other cases on which plaintiffs rely largely do not address the issue at
hand, instead applying English law to citizenship at birth in pre-revolutionary English
colonies. See, e.g., Gardner v. Ward, 2 Mass. (1 Tyng) 244 (1805); Kilham v. Ward, 2
Mass. (Tyng) 236, 265 (1806); Barzizas v. Hopkins, 23 Va. (2 Rand.) 276, 278 (1824).
Others are passing, exceptionless references to citizenship at birth that would have
implied that even children of ambassadors were citizens. See, e.g., State v. Manuel, 20
N.C. (3 & 4 Dev. & Bat.) 144, 151 (1838).
                                             17
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law’s “obsolete claim of inalienable allegiance.” Rep. of H. Comm. on Foreign Affairs

Concerning the Rights of American Citizens in Foreign States, in Cong. Globe, 40th Cong.,

2nd Sess. app. at 94, 99 (1868). Just weeks after the Fourteenth Amendment was

ratified, Congress passed the Expatriation Act of 1868, forcefully repudiating the

English doctrine of inalienable allegiance to one’s birth country as incompatible with

“the enjoyment of the rights of life, liberty, and the pursuit of happiness.” Act of July

27, 1868, ch. 249, § 1, 15 Stat. 223, 223.

       Courts in the decades after ratification also understood the Citizenship Clause

to depart from the English common-law rule. Elk and Wong Kim Ark acknowledged

that the Clause departed from the English rule in how it treated Indians. The New

Jersey Supreme Court in Benny v. O’Brien, 32 A. 696 (N.J. 1895)—which Wong Kim Ark

quoted favorably, 169 U.S. at 692-93—similarly recognized that America departed in

how it treated non-domiciled aliens. The court reasoned that the Civil Rights Act and

Citizenship Clause make clear that some aliens’ children are not citizens because they

are “subject to [a] foreign power.” Benny, 32 A. at 697. The “[p]ersons intended to be

excepted,” the court explained, are “those born in this country of foreign parents who

are temporarily traveling here” because “[s]uch children are, in theory, born within the

allegiance of the sovereign power to which they belong….” Id. By contrast, for

people who settled here and raised their children here—i.e., became “domiciled

here”—“it is clear that it will never be conceded by our government that such persons

are subject to any foreign power” because they are instead “subject to the jurisdiction
                                             18
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of the United States.” Id. at 697-98. The States (at 46) plainly misread Benny to dismiss

the court’s references to domicile—as they do for Wong Kim Ark—as merely the

question presented and not relevant to the case’s holding.

       Plaintiffs underscore their misunderstanding of the relevant principles in

arguing that the Executive Order’s understanding of the Citizenship Clause would call

into question the citizenship of all children born to “dual citizens,” “lawfully present

immigrants,” States Br. 43, or “the millions of European immigrants who entered the

United States in the 19th and 20th centuries,” Individuals Br. 46. As we have

explained, see Gov’t Br. 17-18, a person can be subject to the “political jurisdiction” of

the United States, Wong Kim Ark, 169 U.S. at 693, even if they remain citizens of

another nation (as Wong’s parents were).5

       D. The Individuals Covered by the Executive Order Are Not
          Completely Subject to the United States’ Political Jurisdiction.

       In short, the text and history of the Citizenship Clause, Supreme Court

precedents, and other sources all support the conclusion that only persons completely

subject to the political jurisdiction of the United States fall within the scope of the

Citizenship Clause. That category includes citizens and aliens who are lawfully

domiciled here, whose children are “subject to the jurisdiction” in the relevant sense.

But that category does not include persons temporarily present in the United States or


       5
        Plaintiffs’ comparison of the status of Wong’s parents and lawful permanent
residents today (Individuals Br. 22-24) is entirely beside the point; the salient point is
that Wong Kim Ark’s parents were domiciled in the United States.
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those illegally present, who lack “the legal capacity to establish domicile in the United

States.” Carlson v. Reed, 249 F.3d 876, 880-81 (9th Cir. 2001); Gov’t Br. 24, 30.

      Plaintiffs have little response to this basic point. Plaintiffs ignore entirely the

precedents of the Supreme Court and this Court concluding that temporarily or

illegally present aliens cannot establish domicile. Even if domicile is generally

established by presence with an intent to remain, States Br. 46-47; Individuals Br. 40,

that does not address Congress’s well-recognized authority to limit the ability to

establish domicile in the United States, consistent with historical limitations on

acquiring domicile. After ignoring these barriers, the States (at 47) then invert the

relevant test, asserting that “many” aliens covered by the Executive Order can

establish domicile. But plaintiffs bring a facial challenge to the Order and thus must

show that the Order is unlawful in all its applications. Moody v. NetChoice, LLC, 603

U.S. 707, 723 (2024).

      E. Plaintiffs’ Statutory Claim Fails Because the Statute Has the
         Same Meaning as the Citizenship Clause.

      Plaintiffs argue that even if the Executive Order reflects the original meaning

of the Citizenship Clause, this Court should nonetheless affirm because the 1940 and

1952 enactment of 8 U.S.C. § 1401 and its precursor codified the “bright-line grant of

birthright citizenship,” which they assert was “confirmed in Wong Kim Ark,” States Br.

51, and was “universally understood” at the time, Individuals Br. 50.




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       Plaintiffs, however, point to no “well-settled” interpretation, Kemp v. United

States, 596 U.S. 528, 539 (2022), necessary to overcome the general rule that similarly

worded legal instruments should be read to have the same meaning, see Cochise

Consultancy, Inc. v. United States ex rel. Hunt, 587 U.S. 262, 268 (2019). As discussed, the

weight of legal authority in the decades after Wong Kim Ark recognized that the

decision was limited to children born to individuals domiciled in the United States and

did not extend to the children of temporary visitors. In contrast to the numerous

authorities advancing this reading between 1898 and 1952, see Gov’t Br. 27, 38-39,

plaintiffs rely almost entirely on authorities that either pre-date Wong Kim Ark or post-

date the statutes. And as noted above, at least one of their sources from the relevant

time period, Flournoy’s Yale Law Journal article, acknowledges that it is challenging the

consensus view. Flournoy, supra, at 552.

       Plaintiffs cite a report by the Roosevelt administration that accompanied the

bill Flournoy helped draft and Flournoy’s own testimony to Congress to urge that

Congress intended to reject any requirement of domicile (States’ Br. 50-51), but

neither is not particularly probative about whether the disagreement identified by

Flournoy had resolved into a consensus on that issue. To the contrary, the continued

disagreement between the report and testimony inserted into the legislative history

and contemporaneous treatises strongly suggests it had not. See Sidney Kansas,

Immigration and Nationality Act Annotated 183 (4th ed. 1953) (describing the statute as

excluding “children of … transients or visitors”).
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       Plaintiffs’ other sources show, at most, that the issue remained a contested

one—not that there was a “well-settled” meaning incorporated into the statute.

Apparently divergent views were reached, for example, about the status of a child

born to parents awaiting admission at Ellis Island. Compare The Nationality Act of 1940,

54 Harv. L. Rev. 860, 861 (1941) (concluding they were not citizens), with 3 Green

Hayword Hackworth, Digest on International Law § 221, at 10 (1942) (reporting, after

passage of the 1940 statute, earlier State Department memorandum concluding that

one such person was a citizen). Even scholars who argued that aliens here illegally

should be covered by the Fourteenth Amendment identified no case law supporting

their position. See Clement L. Bouvé, A Treatise on the Laws Governing the Exclusion and

Expulsion of Aliens in the United States 425-27 (1912). And the other authorities

plaintiffs cite predating the 1940 statute do not address the question. See In re Nunez,

18 F. Supp. 1007, 1007 (S.D. Cal.) (noting that children born to a woman while

lawfully residing in United States were citizens even though she later became

deportable), rev’d sub nom. Ex parte Nunez, 93 F.2d 41 (9th Cir. 1937); Perkins v. Elg, 307

U.S. 325, 327 (1939) (involving a child born to naturalized American citizens);

Morrison v. California, 291 U.S. 82 (1934). Post-enactment authorities do not evidence a

pre-enactment, settled meaning, and in any event do not address the issue either.

Regan v. King, 134 F.2d 413 (9th Cir. 1943) (per curiam); United States ex rel. Hintopoulos

v. Shaughnessy, 353 U.S. 72, 73 (1957); INS v. Errico, 385 U.S. 214, 215 (1966).


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         Finally, even if plaintiffs were able to show a well-settled meaning of “subject

to the jurisdiction thereof,” their facial claim would fail because many individuals

covered by the Executive Order would not be “in the United States” as that term was

understood in 1940 and 1952. The Supreme Court’s decisions in Kaplan v. Tod, 267

U.S. 228, 230 (1925); United States v. Ju Toy, 198 U.S. 253, 263 (1905); and Nishimura

Ekiu v. United States, 142 U.S. 651, 661 (1892), had created a well-understood legal rule

that parents who had not been legally admitted in the United States “were not within

the United States” but were legally treated as “still [being] at the frontier” and thus

would not fall within the statutes. The Nationality Act of 1940, supra, at 861 n.8.

Therefore, even if the midcentury understanding of 8 U.S.C. § 1401(a)’s requirement

to be born “subject to the jurisdiction” of the United States could help plaintiffs, the

midcentury understanding of the second requirement of being “born in the United

States” would defeat their facial challenge.

   II.      The District Court’s Injunctive Relief Is Substantially
            Overbroad.

         As our opening brief explained, the district court’s nationwide injunction—

premised entirely on the claims of the State plaintiffs—was inappropriate. The States

cannot sue to vindicate individuals’ Citizenship Clause rights and, in any event, lack

Article III standing. And even if the States were proper parties, a nationwide

injunction is not necessary to provide the States complete relief. Thus, even if the




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plaintiffs are entitled to injunctive relief, the injunction should be narrowed to the

individual plaintiffs.

       A. The States Are Not Proper Parties and Thus Are Not Entitled
          to Injunctive Relief.

       1. The States begin by rejecting the relevance of their standing, suggesting it is

irrelevant because the individual plaintiffs have standing. States Br. 10-11. That is

manifestly wrong. The States correctly note that the presence of one plaintiff with

standing is “enough for the Court to proceed to the merits,” States Br. 10, and the

individual plaintiffs’ claims here are a basis to decide the merits. But the Supreme

Court has been equally clear that “[a]t least one plaintiff must have standing” for

“each form of relief.” Town of Chester v. Laroe Estates, Inc., 581 U.S. 433, 439 (2017); see

Lewis v. Casey, 518 U.S. 343, 357, 358 n.6 (1996) (“Standing is not dispensed in gross,”

and “[t]he remedy must of course be limited to the inadequacy that produced the

injury in fact that the plaintiff has established.”). That is why the other circuits to

have addressed a similar argument have explained that standing issues may be

bypassed only where “each party for whom standing was at issue requested identical

relief.” Wikimedia Found. v. NSA, 857 F.3d 193, 217 (4th Cir. 2017). Here, by

contrast, the States seek “‘additional’ individualized relief” beyond what was sought by

the individual plaintiffs. M.M.V. v. Garland, 1 F.4th 1100, 1110 (D.C. Cir. 2021). The

individual plaintiffs never requested a nationwide injunction, and the district court

expressly premised its nationwide injunction on remedying purported injuries to the

                                             24
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States. If the States are not proper parties, there is plainly no basis for a nationwide

injunction.6

       2. The States fail to overcome the general rule that a party “must assert his

own legal rights” and not the rights of “third parties.” Kowalski v. Tesmer, 543 U.S.

125, 129 (2004) (quotation marks omitted); accord, e.g., United States v. Hansen, 599 U.S.

762, 769 (2023); FDA v. Alliance for Hippocratic Med., 602 U.S. 367, 393 n.5 (2024). Yet

the States seek to enjoin an Executive Order they allege “directs federal agencies to

deprive individuals of their rights,” “rob[s] individuals of their constitutionally conferred and

statutorily protected citizenship,” States Br. 1, 25 (emphases added), and “strip[s]

individuals of their right to citizenship,” ER-54 (emphasis added). See also States Br. 2,

55-56; ER-18.

       The States thus seek to litigate the rights of third parties—current and future

residents—because of downstream effects the rights of those individuals might have

on the States. That is precisely the scenario in which litigating the claims of others is

forbidden. In Kowalski, for example, the Supreme Court assumed that criminal

defense attorneys had established Article III standing through allegations that a state

law “reduced the number of cases in which they could be appointed and paid as



       6
        The individual plaintiffs also argue a class-wide injunction would be
appropriate. But the district court declined to certify a class, ER-14 n.9, and “in the
absence of class certification, the preliminary injunction may properly cover only the
named plaintiffs.” National Ctr. for Immigrants Rights, Inc. v. INS, 743 F.2d 1365, 1371
(9th Cir. 1984).
                                            25
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assigned appellate counsel” for future “hypothetical indigents,” but nevertheless held

that the attorneys could not assert those individuals’ constitutional right to counsel.

543 U.S. at 127, 129 n.2, 134.

       The States’ various efforts to avoid the rule against third-party standing are

unsuccessful. They first suggest the rule does not apply after Lexmark International, Inc.

v. Static Control Components, Inc., 572 U.S. 118 (2014). States Br. 23-24. But Lexmark

expressly distinguished third-party standing from the prudential doctrines it criticized.

572 U.S. at 127 n.3. And this Court has joined “all other courts to have spoken on

the issue” in holding “that the third-party-standing doctrine … remain[s]” post-

Lexmark. Ray Charles Found. v. Robinson, 795 F.3d 1109, 1118 n.9 (9th Cir. 2015)

(collecting cases).

       That rule forecloses the States’ claim here, and none of the cases they cite

suggests otherwise. Most involve allegations that the States’ own rights were violated.

South Dakota v. Dole addressed a grant requirement that required States to adopt a

particular drinking age to receive federal funds, which South Dakota contested under

the Twenty-first Amendment. 483 U.S. 203, 205 (1987). South Carolina v. Katzenbach,

383 U.S. 301 (1966), expressly declined to consider arguments that the federal law

violated any individual rights, id. at 324, only addressing the States’ challenge that their

sovereignty was violated by legislation regulating the State itself—preempting state

voting law, imposing additional procedures for state legislation, and imposing federal

supervision over their elections, id. at 307, 333-37. Similarly, in Haaland v. Brackeen,
                                            26
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599 U.S. 255 (2023), Texas was allowed to challenge only those portions of the statute

that imposed legal obligations on the State itself—provisions requiring Texas to

maintain and make available certain records, to notify certain individuals of

involuntary proceedings to place children in foster care, and to produce expert

testimony before terminating parental rights. Id. at 266, 287-88, 296.7

       Finally, Washington v. Trump, 847 F.3d 1151 (9th Cir. 2017) (per curiam), falls

within an “exception” to the rule against third-party standing that applies when “the

party asserting the right has a ‘close’ relationship with the person who possesses the

right” and that “there is a ‘hindrance’ to the possessor’s ability to protect his own

interests.” Kowalski, 543 U.S. at 129-30. While the application of these criteria has

been, at times, “quite forgiving,” id. at 130, the States do not invoke this exception

and it does not apply here, where multiple individuals are pursuing their claims here

and elsewhere.

       Indeed, the States do not invoke any recognized exception to third-party

standing principles. They instead put forward a variety of supposed legal rights that

belong to the States themselves. States Br. 18-20, 24. But like the States’ purported

“pocketbook” injuries, these supposed injuries are entirely dependent on a

determination about the individual rights of state residents. Even if those purported



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         Department of Homeland Security v. Regents of the University of California, 591 U.S. 1
(2020), involved dozens of plaintiffs seeking overlapping relief, rendering any disputes
about the States’ standing irrelevant. See id. at 36 n.7.
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injuries were viable under Article III, such claims would still be barred by third-party

standing principles. Kowalski, 543 U.S. at 134.

      More generally, the district court did not rely on these harms in assessing

standing or fashioning injunctive relief, and for good reason. The Executive Order

does not purport to dictate how the States determine citizenship for purposes of

“state-run elections or jury systems,” States Br. 23, and the States have no cognizable

interest in how federal officials react when they receive state-issued identity documents.

Indeed, the States’ theory appears to be that they would be free to assert any

individual’s citizenship or naturalization-related claims, as such policies would

necessarily affect state citizenship as well. The States cite no authority supporting that

sweeping premise. At a minimum, such harms cannot establish irreparable harm

justifying a preliminary injunction, as children subject to the Order would not be

eligible to vote or serve on juries for many years.

      3. The injuries the district court relied on are also insufficient. The States

premise standing on purported losses of federal funding from programs administered

by the States but jointly funded by States and the federal government. States Br. 11.

At the outset, the programs at issue—Medicaid, the Children’s Health Insurance

Program, and the Enumeration at Birth Program—involve circumstances where the

federal government reimburses for services provided under the program. See, e.g., 1-

SER-153 (Washington pays $2,844 per child on physical health care coverage, with

55% reimbursed by the federal government and the remainder paid by the state). But
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when someone is ineligible, neither the State nor the federal government pays for the

individual under the program, and the State would not incur the costs for which

reimbursement would be reduced. The States’ injuries here thus turn on the claim

that they would incur other expenses because of a voluntary decision to provide

services outside the federal program—a self-inflicted injury that cannot support

standing. See Pennsylvania v. New Jersey, 426 U.S. 660, 664 (1976) (per curiam).

       In any event, these sorts of downstream effects of federal policy on State

expenditures are the sort of attenuated and indirect effects that cannot give rise to

State standing. See, e.g., United States v. Texas, 599 U.S. 670, 680 n.3 (2023); Washington

v. FDA, 108 F.4th 1163, 1175-76 (9th Cir. 2024). The States rely (at 12) on Department

of Commerce v. New York, 588 U.S. 752 (2019), and Biden v. Nebraska, 600 U.S. 477

(2023), but those cases involved much more direct claims of harm than those at issue

here. Department of Commerce involved allegations about the loss of federal funds

“distributed on the basis of state population” from an undercount on the decennial

census. 588 U.S. at 767. Those funds were thus directly tied to the enumeration and

were not coupled with an offsetting reduction in state spending. And Nebraska is

even further afield: there, the federal government cancelled contracts serviced by an

arm of a state, again a far more direct injury than the downstream effects a decision

about citizenship has on determining who will or will not be eligible to receive federal

assistance. 600 U.S. at 490.


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       Finally, the States suggest (at 20-21) that the Executive Order will affect their

ability to regulate noncitizens within their borders. This tilts at windmills. Nothing in

the Executive Order suggests that individuals covered by it are exempt from federal

or state regulatory jurisdiction. To the contrary, the central point is that individuals

are required to obey U.S. law—and may be punished for violating it—without being

“subject to” its “jurisdiction” for purposes of the Citizenship Clause.

       B. At a Minimum, the Injunction Should Be Narrowed.

       1. The States pay lip service to the principle that injunctive relief should be no

broader than necessary to provide complete relief to the plaintiffs, States Br. 57-61,

but they fail to justify the district court’s nationwide injunction. The States argue that

the injunction must be nationwide because a child born in Maine or Florida might

move to Washington (or another plaintiff State), or a resident of a plaintiff State

might give birth in another State. States Br. 59-60. As we explained, Gov’t Br. 52,

treating the child as a citizen while the child is in a plaintiff State would provide

complete relief for the plaintiff States’ purported injuries.

       Aside from an unexplained assertion that this would be “unworkable,” the

States do not seriously dispute that this narrower injunction would provide them

complete relief. See States Br. 61-62. Plaintiffs claim (States Br. 61) that the opening

brief is “the first time” the federal defendants suggested a narrower injunction, but the

defendants have repeatedly argued that a geographically limited injunction would

provide complete relief. See 1-SER-8 (requesting “an order that provided relief only
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within their borders”); 2-SER-376-377. Finally, the States raise (at 62) single-sentence,

unexplained objections that a narrower injunction would not remedy their sovereign

injuries and that they are legally required to verify citizenship of individuals in

federally funded programs. Neither argument is substantial. An injunction applicable

to persons in the plaintiff States would provide complete relief and would not require

altering the States’ procedures for verifying citizenship. And state-by-state relief has

been workable in other immigration-related contexts. See Texas v. United States, 126

F.4th 392, 420-21 (5th Cir. 2025) (enjoining the enforcement of the Deferred Action

for Childhood Arrivals Program but limiting relief to Texas).

       The need to tailor the injunction is especially apparent given that other States

oppose injunctive relief. While the plaintiff States dismiss their sister States as

pressing mere “policy complaints” about the “harm” those States will suffer “if

immigration is not reduced,” States Br. 56 n.10, in considering the balance of harms

and the public interest, there is no basis for privileging the plaintiff States’ harms over

other States’, particularly where a narrower injunction would fully remedy the plaintiff

States’ harms.

       2. The injunction also improperly prohibits executive agencies from

formulating or issuing public guidance about how they would implement the

Citizenship Order. Plaintiffs suggest that “[o]nce the court … determined that the

[Executive Order] was unlawful, there was no reason to allow Defendants to work to

implement it.” Individuals Br. 57; accord States Br. 56-57. This Court has already
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explained that there is no basis to enjoin “internal review procedures that do not

burden individuals outside of the executive branch of the federal government.”

Hawaii v. Trump, 859 F.3d 741, 786 (9th Cir.) (per curiam), vacated on other grounds, 583

U.S. 941 (2017). Plaintiffs do not and cannot claim harm from internal steps, and the

injunction by definition is “not narrowly tailored to addressing only the harms

alleged,” particularly given the general rule that the government is given the “widest

latitude in the dispatch of its own internal affairs.” Id. (quotation marks omitted).

                                    CONCLUSION

       The preliminary injunction should be reversed, or at a minimum narrowed.

                                                 Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

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